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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                                :         Honorable Douglas Arpert
  UNITED STATES OF AMERICA

     v.                                         :         Mag. No. 12-2547 (DA)

   SCOTr MAZZARA
                                                          ORDER FOR CONTINUANCE


                                                                          man, United States Attorney
          This mailer having been opened to the Court by Paul J. Fish
                                                              w, Assistant U.S. Attorney, appearing),
   for the District of New Jersey (Jonathan W. Romanko
                                                             e, Esq., appearing), for an order granting
   and defendant SCOTT MAZZARA (Michael Baldassar
                                                              d matter; and nine continuances having
   a continuance of the proceedings in the above-captione
                                                         e that he has     the right to have the matter
   previously been granted; and the defendant being awar
                                                             the date of his arrest pursuant to Title 18
   presented to a Grand Jury within thirty (30) days of
                                                         havi     ng waived such rights and consented
   U.S.C. § 3161; and the defendant through his attorney
                                                                 n,
   to the continuance; and for good and sufficient cause show
                                                                               ld be continued for the
          IT IS THE FINDING OF THIS COURT that this action shou

   following reasons:
                                                                                               s and the
                  I.    Plea negotiations currently are in pregress, and both the United State
                                                                          h   ld thereby render trial
           defendant desire additional time to enter a plea in Court, whic wou

           of this mailer unnecessary.

                  2.    Defendant has consented to the aforementioned continuance.

                  3. The grant of a continuance will likely conserve judicial resources.
                                                                                              the
                  4.  Pursuant to Title 18 of the United States Code, Section 3161 (hX7)(A),
                                                                        the best interests of the
           ends of justice served by granting the continuance outweigh

           public and the defendants in a speedy trial.
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          WHEREFORE, on this                  day of December, 2013;

          ORDERED that the proceedings in the above-captioned mattel are continued from

   December 13, 2013 through February 11, 2014; and it is further

          ORDERED that the period between from December 13, 2013 through February 11, 2014

   shall be excludable in computing time under the Speedy Trial Act of 1 974.




                                         HON. DOARPERT
                                         United Stales Mgistrate Judge




   Form and entry




   J6NA HAN ROMANKOW
   Assistant U.S. Attorney



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   MI I-lAB        DARE, Esq,
   Counsel fbr Defendant Scott Mazzara
